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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

                                           :
Evergreen Power, LLC and                   :       3:12-CV-00032 (SRU)
Asnat Realty, LLC                          :
                                           :
                Plaintiffs                 :
                                           :
       v.                                  :
                                           :
                                           :
United Illuminating Company                :
                                           :
                Defendant                  :       July 30, 2012
                                           :
                                           :


              Plaintiffs’ Motion For Partial Summary Judgment As To Liability
             On The First And Fourth Counts Of The Second Amended Complaint

       The plaintiffs move for partial summary judgment on the First and Fourth Counts of the

Second Amended Complaint dated April 18, 2012 (“Complaint”). Specifically, plaintiffs move

for summary judgment as to the liability of the defendant under CERCLA. In accordance with

FRCP Local Rule 56(a)1, plaintiffs’ Local Rule 56(a)1 Statement is annexed hereto. In addition,

a Memorandum of Law has been filed in support of this motion.

       As set forth in the Complaint, plaintiffs’ claims are based on CERCLA §107 (First and

Second Counts), CGS § 22a-16 (Third Count), Promissory Estoppel / Breach of Contract (Fifth

Count), Reckless Misconduct (Sixth Count), and for declaratory relief pursuant to CERCLA and

the Declaratory Judgments Act, 28 U.S.C. §§ 2201-2202 (Fourth Count). At this time, plaintiffs

seek partial summary judgment on the First and Fourth Counts as to defendant’s CERCLA

liability. As discussed in more detail in the supporting memorandum of law, no genuine issues




ORAL ARGUMENT REQUESTED
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of fact exist with respect to the defendant’s CERCLA liability in this matter and plaintiffs have

established the required elements for a prima facie case.


                                                     Respectfully Submitted,
                                                     Plaintiffs
                                                                  /s/Alan M. Kosloff
                                                             ___________________________
                                                     By:     Alan M. Kosloff
                                                             Federal Bar #ct05554
                                                             Law Offices of Alan M. Kosloff
                                                             Their Attorneys
                                                             28 North Main Street
                                                             West Hartford, CT
                                                             Tel: 860-521-7004
                                                             Fax: 860-521-3352
                                                             akosloff@kosloff.net


                                            ORDER


       The foregoing Motion for Partial Summary Judgment, having come before the Court, is

hereby ORDERED:


       GRANTED / DENIED.


                                             BY THE COURT



                                             _______________________________
                                             Judge




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                                        Certificate of Service

        I hereby certify that, on July 30, 2012 a copy of the foregoing Motion for Partial Summary

Judgment was filed electronically and served by mail on anyone unable to accept electronic filing.

Notice of this filing will be sent by e-mail to all parties by operation of the court’s electronic filing

system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing.




                                                                    /s/Alan M. Kosloff
                                                                ___________________________
                                                                Alan M. Kosloff




Filing location:

D. Conn. - Electronic Filing
Chamber Copies Per Electronic Filing Order (1/5/12)

Chambers: The Honorable Stefan R. Underhill
Brien McMahon Federal Building
United States Courthouse
915 Lafayette Boulevard - Suite 411
Bridgeport, Connecticut 06604
